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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

JOANNA ESPINAL and RAMONA DE LEON,
Docket Ne.; 2] ev 3404

Plaintiffs,
NOTICE OF REMOVAL

-against-

JETBLUE AIRWAYS CORPORATION, 27-01
QUEENS PLAZA LONG ISLAND CITY, NY
11191

 

Defendant.

 

TO THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK:

Defendant, JetBlue Airways Corporation (hereafter “JetBlue”), for the removal of this
action from the Supreme Court of the State of New York, County of Queens, to the United States
District Court for the Eastern District of New York, respectfully shows this Honorable Court:

FIRST: JetBlue Airways Corporation is the defendant in a civil action brought against it
in the Supreme Court of the State of New York, County of Queens; entitled:

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF QUEENS

 

JOANNA ESPINAL and RAMONA DE LEON,

Index No. 707325/2021
Plaintiffs,

-against-

JETBLUE AIRWAYS CORPORATION, 27-01
QUEENS PLAZA LONG ISLAND CITY, NY
11191

 

Defendant.

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SECOND: A copy of the Verified Complaint in this action is annexed hereto as Exhibit
“A”, Copies of the Summons with Notice and Notice of Appearance with Demand for a Verified
Complaint are attached here as Exhibit “B”. An Amended Summons with Notice is attached here
as Exhibit “C”. The aforementioned exhibits constitute all of the pleadings and orders served
upon any party in this action.

THIRD: According to the Verified Complaint, Plaintiffs were passengers on JetBlue
flight No. 2536 originating from Santiago, Dominican Republic. JetBlue Flight No. 2536 flies
from the Dominican Republic to John F. Kennedy International Airport in New York.

FOURTH: Both the United States and the Dominican Republic are signatories to the
Montreal Convention, an international treaty that is controlling with regard to claims arising
from international air transportation between signatory countries. The incident that has been
alleged by Plaintiffs took place during the boarding process of an international flight between
two countries that are signatories to the Montreal Convention, therefore the Convention is
controlling with regard to Plaintiffs’ claims in this matter.

FIFTH: This action is one over which this Court has original jurisdiction under the
provisions of Title 28, United States Code, Section 1331, and is one which may be removed to
this Court by JetBlue, pursuant to the provisions of Title 28 United States Code, Section 1441, in
that, it is a civil action involving a federal question arising under a treaty of the United States.
Pursuant to 28 U.S.C. §1331, the U.S. District Courts have original jurisdiction of all civil
actions arising under the Constitution, laws or treaties of the United States.

SIXTH: Plaintiffs served the Verified Complaint on JetBlue on May 21, 2021 through
the New York Courts Electronic Filing System (NYSCEF), therefore this Notice of Removal is

timely, having been filed within 30 days of receipt of the Verified Complaint.

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WHEREFORE, the defendant, JetBlue, prays that the above action now pending against

it in the Supreme Court of the State of New York, County of Queens, be removed from there to

this Court.

Dated: New York, New York

TO:

3970354-1

June 16, 2021

Nestor Rosado, Esq.

LAW OFFICE OF NESTOR ROSADO,
P.C,

Attorneys for Plaintiffs

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK Docket No.: 21 ev 3404

 

JOANNE ESPINAL and RAMONA DE LEON,

 

 

Plaintiffs,
-against-
JETBLUE AIRWAYS CORPORATION,
Defendant.
NOTICE OF REMOVAL
CONNELL FOLEY LLP

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